Case 5:22-cv-00079-PA-SHK Document 1-10 Filed 01/12/22 Page 1 of 8 Page ID #:38




          EXHIBIT I
Case 5:22-cv-00079-PA-SHK Document 1-10 Filed 01/12/22 Page 2 of 8 Page ID #:39



  1    JACKSON LEWIS P.C.
       NATHAN W. AUSTIN (SBN 219672)
  2    BAILEY A. MCCABE (SBN 322098)
       400 Capitol Mall, Suite 1600
  3    Sacramento, California 95814
       Telephone:    (916) 341-0404
  4    Facsimile:    (916) 341-0141
       Email: nathan.austin@jacksonlewis.com
  5           bailey.mccabe@jacksonlewis.com
  6    Attorneys for Defendant
       ZUMIEZ INC.
  7

  8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

  9                                       COUNTY OF RIVERSIDE

 10    DEVIN SANTIVANEZ, an individual,                    CASE NO. CVRI2105558
 11                   Plaintiff,                             ASSIGNED FOR ALL PURPOSES TO:
                                                                  HON. DANIEL OTTOLIA
 12           vs.                                                   DEPARTMENT 4
 13    ZUMIEZ INC. AND DOES 1 - 24, inclusive,             DEFENDANT ZUMIEZ INC.’S ANSWER
                                                           TO PLAINTIFF’S UNVERIFIED
 14                   Defendants.                          COMPLAINT
 15                                                        Complaint Filed:                     12.08.21
                                                           Trial Date:                          None Set
 16

 17          Defendant     ZUMIEZ       INC.    (“Defendant”)     hereby      answers   Plaintiff   DEVIN

 18   SANTIVANEZ’s (“Plaintiff”) Unverified Complaint (“Complaint”) without waiving its right to

 19   compel arbitration of this matter, as follows:

 20                                         GENERAL DENIAL

 21          Pursuant to Code of Civil Procedure section 431.30(d), Defendant denies, generally and

 22   specifically, each allegation contained in Plaintiff’s Complaint, and each cause of action of said

 23   Complaint, and further deny Plaintiff has suffered any injury or damages of any kind attributable

 24   in any way to an alleged act or omission by Defendant.

 25                                     AFFIRMATIVE DEFENSES

 26          As separate and distinct affirmative defenses to Plaintiff’s Complaint and the purported

 27   causes of action alleged therein, under information and belief and without conceding that it bears

 28   the burden of proof or persuasion as to any one of them, Defendant alleges as follows:

                                                       1
                 DEFENDANT ZUMIEZ INC.’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
Case 5:22-cv-00079-PA-SHK Document 1-10 Filed 01/12/22 Page 3 of 8 Page ID #:40



  1                               FIRST AFFIRMATIVE DEFENSE
  2          1.      Plaintiff’s Complaint, and each purported cause of action alleged therein, fails to
  3   state facts sufficient to constitute a cause of action against Defendant.
  4                               SECOND AFFIRMATIVE DEFENSE
  5          2.      Any recovery on Plaintiff’s Complaint, and/or each purported cause of action
  6   alleged therein, is barred by the applicable statutes of limitation, including but not limited to
  7   California Code of Civil Procedure sections 335.1, 338(a), and 340(a), California Business and
  8   Professions Code section 17208.
  9                               THIRD AFFIRMATIVE DEFENSE
 10          3.      Plaintiff’s Complaint as a whole, and each purported cause of action alleged therein,
 11   is barred, in whole or in part, or should be stayed, to the extent Plaintiff has agreed to arbitrate any
 12   or all of the purported causes of action asserted in the Complaint.
 13                               FOURTH AFFIRMATIVE DEFENSE
 14          4.      A recovery on Plaintiff’s Complaint, and each purported cause of action alleged
 15   therein, is barred in whole or in part because Plaintiff’s respective terms of employment were for
 16   an unspecified duration and therefore terminable at will, with or without cause, pursuant to Labor
 17   Code section 2922.
 18                               FIFTH AFFIRMATIVE DEFENSE
 19          5.      Plaintiff’s Complaint as a whole, and each purported cause of action alleged therein,
 20   is barred, settled and/or released in whole or in part, and/or recovery is precluded in whole or in
 21   part, to the extent there are settlements, judgments and/or resolutions in other legal or administrative
 22   actions brought against Defendant by or on behalf of Plaintiff or to the extent there have been
 23   voluntary payments by Defendant with respect to some or all of the claims asserted in Plaintiff’s
 24   Complaint, or to the extent there are releases of claims in exchange for severance packages or other
 25   consideration provided by Defendant to Plaintiff. Moreover, Plaintiff’s Complaint as a whole, and
 26   each purported cause of action alleged therein, is barred by the doctrine of payment, or the doctrine
 27   of payment limits and reduces the alleged damages, to the extent Plaintiff accepted payment in full
 28   discharge of Defendant’s obligations. Without limiting the generality of this affirmative defense,
                                                          2
                  DEFENDANT ZUMIEZ INC.’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
Case 5:22-cv-00079-PA-SHK Document 1-10 Filed 01/12/22 Page 4 of 8 Page ID #:41



  1   Defendant alleges that to the extent Plaintiff voluntarily settled and released all or portions of his
  2   purported claims, they are barred from pursuing these claims, or portions of claims subject to
  3   settlements entered with Defendant.
  4                               SIXTH AFFIRMATIVE DEFENSE
  5          6.        Any recovery on Plaintiff’s Complaint as a whole, and/or each purported cause of
  6   action alleged therein, is barred in whole or in part, or any recovery must be reduced, by virtue of
  7   Plaintiff’s failure to exercise reasonable diligence to mitigate his alleged damages.
  8                               SEVENTH AFFIRMATIVE DEFENSE
  9          7.        The Complaint as a whole, and each purported cause of action alleged therein, is
 10   barred under the avoidable consequences doctrine. Defendant had procedures in place for reporting
 11   work-related issues, including, but not limited to, discrimination, and payment of wages issues.
 12   Plaintiff failed to utilize Defendant’s preventive and corrective measures. Reasonable use of
 13   Defendant’s preventive and corrective measures would have prevented at least some of the harm
 14   Plaintiff allegedly suffered.
 15                               EIGHTH AFFIRMATIVE DEFENSE
 16          8.        Plaintiff’s Complaint, and each purported cause of action alleged therein, is barred,
 17   in whole or in part, by the doctrines of laches, estoppel, waiver, and unclean hands.
 18                               NINTH AFFIRMATIVE DEFENSE
 19          9.        Plaintiff’s Complaint as a whole, and each purported cause of action alleged therein,
 20   is barred in that Defendant’s actions were a just and proper exercise of management discretion,
 21   which was undertaken for a fair and honest reason regulated by good faith under the circumstances
 22   then existing.
 23                               TENTH AFFIRMATIVE DEFENSE
 24          10.       Any recovery on Plaintiff’s Complaint, or any purported cause of action therein, is
 25   barred because, assuming arguendo that unlawful reasons had been a substantial motivating factor
 26   in any employment decision toward Plaintiff, Defendant would have made the same employment
 27   decisions toward Plaintiff for separate legitimate, non-discriminatory, non-retaliatory and lawful
 28   business reasons.
                                                         3
                   DEFENDANT ZUMIEZ INC.’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
Case 5:22-cv-00079-PA-SHK Document 1-10 Filed 01/12/22 Page 5 of 8 Page ID #:42



  1                                  ELEVENTH AFFIRMATIVE DEFENSE
  2             11.      Defendant is entitled to an offset for amounts Plaintiff owes Defendant for receipt
  3   of any wages and other benefits to which Plaintiff is not entitled or did not earn.
  4                                  TWELFTH AFFIRMATIVE DEFENSE
  5             12.      Plaintiff’s claims are barred to the extent Plaintiff lacks standing to bring the instant
  6   action.
  7                              THIRTEENTH AFFIRMATIVE DEFENSE
  8             13.      Plaintiff is not entitled to duplicative recovery under the purported causes of action
  9   alleged in the Complaint.
 10                                  FOURTEENTH AFFIRMATIVE DEFENSE
 11             14.      Any recovery on Plaintiff’s Complaint is barred in whole or in part because the
 12   decisions related to Plaintiff’s employment were based on bona fide occupational qualifications.
 13                                  FIFTEENTH AFFIRMATIVE DEFENSE
 14             15.      Any recovery on Plaintiff’s Complaint is barred in whole or in part because each
 15   and every action taken by Defendant with respect to Plaintiff was justified by business necessity
 16   designed to operate the business safely and efficiently.
 17                              SIXTEENTH AFFIRMATIVE DEFENSE
 18             16.      Prior to the filing of Plaintiff’s Complaint, Defendant was unaware of any of the
 19   conduct alleged in the Complaint and has not ratified, condoned or adopted any such alleged
 20   unlawful conduct.
 21                              SEVENTEENTH AFFIRMATIVE DEFENSE
 22             17.      Any claim for punitive damages is unwarranted in that the individuals who
 23   purportedly engaged in unlawful conduct toward Plaintiff were not and have never been managing
 24   agents of Defendant.
 25                              EIGHTEENTH AFFIRMATIVE DEFENSE
 26             18.      Plaintiff’s claim for exemplary and punitive damages is barred because Plaintiff has
 27   failed to raise sufficient allegations of malice, oppression, or fraud and has failed to raise sufficient
 28   allegations to comply with the requirements of Civil Code section 3294.
                                                             4
                      DEFENDANT ZUMIEZ INC.’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
Case 5:22-cv-00079-PA-SHK Document 1-10 Filed 01/12/22 Page 6 of 8 Page ID #:43



  1                           NINETEENTH AFFIRMATIVE DEFENSE
  2           19.      Defendant is not liable for Plaintiff’s claim for damages set forth in the Complaint
  3   to the extent Plaintiff seeks redress for physical or emotional injuries arising from preexisting
  4   physical or mental conditions.
  5                           TWENTIETH AFFIRMATIVE DEFENSE
  6           20.      Plaintiff’s Complaint and each alleged cause of action and any purported claims for
  7   emotional distress damages are barred because Defendant’s conduct was permissible in that
  8   Defendant was exercising their legal right and/or protecting their economic interest, Defendant’s
  9   conduct was lawful and consistent with community standards, and Defendant had a good faith
 10   belief it had a right to engage in such conduct.
 11                           TWENTY-FIRST AFFIRMATIVE DEFENSE
 12           21.      Plaintiff’s purported claims for emotional distress damages are barred because the
 13   exclusive remedy for Plaintiff’s alleged emotional distress and other injuries, if any, is before the
 14   California Workers’ Compensation Appeals Board pursuant to the exclusive remedy provisions of
 15   the California Workers’ Compensation Act (see California Labor Code section 3600 et seq.).
 16   Plaintiff’s Complaint alleges an injury compensable under the California Workers’ Compensation
 17   Act because Plaintiff’s alleged injuries: (1) occurred at a time when both Plaintiff and Defendant
 18   were subject to California Labor Code section 3600, subdivision (a); (2) occurred in the course of
 19   and incidental to Plaintiff’s employment; and (3) were proximately caused by the employment.
 20                        TWENTY-SECOND AFFIRMATIVE DEFENSE
 21           22.      The alleged acts of Defendant were not outrageous, intentional, or reckless, and
 22   Plaintiff did not suffer severe emotional distress as a result of Defendant's alleged acts.
 23                           TWENTY-THIRD AFFIRMATIVE DEFENSE
 24           23.      Plaintiff’s claim Defendant alleges that the Complaint, and each purported cause of
 25   action contained therein, is barred in whole or in part and limited by its lack of actual or constructive
 26   knowledge. Plaintiff did not inform Defendant of any alleged health or safety violations, retaliation,
 27   or wrongful termination prior to filing a lawsuit. Plaintiff, therefore, did not provide Defendant
 28   ///
                                                          5
                    DEFENDANT ZUMIEZ INC.’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
Case 5:22-cv-00079-PA-SHK Document 1-10 Filed 01/12/22 Page 7 of 8 Page ID #:44
Case 5:22-cv-00079-PA-SHK Document 1-10 Filed 01/12/22 Page 8 of 8 Page ID #:45
